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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
  LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


  This document relates to:                          ORDER GRANTING MOTIONS FOR
                                                     SUMMARY JUDGMENT
  James Phelps v. Monsanto Co.,
  Case No.: 3:23-cv-03512-VC                         Re: Dkt. Nos. 19696, 19697

  Darlene Luther v. Monsanto Co.,
  Case No.: 3:23-cv-03508-VC


       In both of the above-captioned cases, Monsanto filed a motion for summary judgment on

the grounds that the plaintiffs failed to disclose a specific causation expert. Neither of the

plaintiffs have filed an opposition. Accordingly, the motions are granted.

       IT IS SO ORDERED.

Dated: December 16, 2024
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
